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                                                                                                                        FILED
 ""-AO 2458    (Rev. 9/00) Judgment in a Criminal Case
               Sheet 1                                                                                             L_~_~~
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                                                                                                                           __ZOO? I
                                                                                                                          -~            :J
                                                                                                                 Ct£R!(, U.ti. OiSTHtG'f COURT
                                                                                                                               i~              /A

                              UNITED STATES DISTRICT COU                                                                                  DEPUTY


                                             SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                                   v.                                    (For Offenses Committed On or After November 1, 1987)

                   Jesus Aburto-Lemus (01)                               Case Number: 06CR2462-W

                                                                         James Matthew Brown
                                                                         Defendant's   Attorney
REGISTRA nON       NO. 02169298
THE DEFENDANT:
X     pleaded guilty to count(s)        one of the information

     Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:
                                                                                                                             Count
Title & Section                     Nature of Offense                                                                      Number(s)
8 use 1324(a)(\)(A)(ii) and         Transportation of Illegal Aliens                                                                I
(v)(II)




  The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.



X Assessment:     $ 100.00 payable forthwith.
X Fine ordered waived.

of name, IT IS ORDERED
          residence,       that the
                     or mailing     defendant
                                 address until shall  notify
                                               all fines,     the Unitedcosts,
                                                           restitution,   Statesand
                                                                                  attorney
                                                                                     specIalfor this district imposed
                                                                                             assessments       within 30bydays
                                                                                                                           this of any change
                                                                                                                                judgment   are
fully
in thepaid. If ordered
       defendant's     to pay restitution,
                    economIc               the defendant shall notify the court and United States attorney of any material change
                               circumstances.
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              Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page   2      of     .±

DEFENDANT:                       Jesus Aburto-Lemus
CASE NUMBER:                     06CR2462- W


                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
 13 months.




o         The court makes the following recommendations to the Bureau of Prisons:




o         The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

                                                      o a.m.      o p.m.         on

          o      as notified by the United States Marshal.

o         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o      before 2 p.m. on

          o      as notified by the United States Marshal.

          o      as notified by the Probation or Pretrial Services Office.



                                                                     RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                           to


at   _______________                                   , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL

                                                                            By
                                                                                             DEPUTY UNITED STATES MARSHAL
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             Sheet 3 - Supervised Release


   DEFENDANT:                   Jesus Aburto-Lemus
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                                                          SUPERVISED RELEASE

   Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.
                                                        MANDATORY CONDITIONS

        The defendant shall rer0rt to the probation office in the district to which the defendant is released within 72 hours of release from
   the custody of the Bureau of Prisons.
   The defendant shall not commit another federal. state or local crime.
   The defendant shall not illegally possess a controlled substance.
   For offellses committed     011   or after September / J. /994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter.
   D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse.

          The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

               Drug testing requirements will not exceed submission of more than eight drug tests per month during the term of supervision,
               unless ordered by the Court.
               The
               If thisdefendant
                       judgment shall cooperate
                                 imposes         as adirected
                                          a fine or             in the
                                                       restitution     collectionit of
                                                                    obligation,        a DNA
                                                                                    shall       sample, pursuant
                                                                                          be a condition          to 18 USC
                                                                                                         of supervised  release3583(d)
                                                                                                                                 that the defendant pay
          any such fine
          Schedule      or restitutIon
                   of Payments          that in
                                  set forth   remains   unpaid at the commencement
                                                this judgment.                          of the term of supervised release in accordance with the


       The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
  with any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION

  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)
          theadefendant
          of             shall granted
               felony, unless  not associate with any
                                       permission      persons
                                                   to do so by engaged  in criminal
                                                               the probation  officer;activity and shall not associate with any person convicted
 10)
          theany
          of  defendant  shall oDserved
                 contraband     permit a In
                                         probation  officer
                                            plain view       to probation
                                                        of the  visit him or her at any time at home or elsewhere and shall permit confiscation
                                                                          officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant's compliance with such notification requirement.
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            Sheet 3 - Continued 2 - Supervised Release

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DEFENDANT:                Jesus Aburto-Lemus
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                                               SPECIAL CONDITIONS       OF SUPERVISION


l         The defendant shall remain outside of the United States of America during the term of supervised release.
